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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ---------------------------------------------------------------------X   Case No.: 9:23-cv-05049
     SEPIDEH GHOLIZADEH AGHDAM,


                                        Plaintiff,                                   COMPLAINT

                      -against-                                                    Plaintiff Demands a
                                                                                      Trial By Jury
     STAR NISSAN, INC. and JOHN KOUFAKIS JR.,
     individually,

                                          Defendants.
     ---------------------------------------------------------------------X
     Plaintiff, by and through her attorneys, Arcé Law Group, P.C., hereby complains of the

     Defendants, upon information and belief, as follows:

                                                INTRODUCTION

1.     This is a case about the owner of a car dealership, who exploited his position of power to

       sexually harass a female employee, and then terminated said employee once he realized that

       she would not reciprocate his sexual advances.

2.     Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C.

       §2000e et seq. (“Title VII”), the New York State Executive Law, §§ 296 et seq. (“NYSHRL”),

       and the New York City Administrative Code §§ 8-107 et. seq. (“NYCHRL”), based upon the

       supplemental jurisdiction of this Court pursuant to Gibbs, 383 U.S. 715 (1966) and 28 U.S.C.

       §1367, seeking damages to redress the injuries she has suffered as a result of being

       discriminated against by her employer on the basis of her sex/gender, together with sexual

       harassment, quid pro quo sexual harassment, creating a hostile work environment, retaliation,

       and unlawful termination.
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                                  JURISDICTION AND VENUE

 3.   The Court has jurisdiction pursuant to 42 U.S.C. 2000e et seq.; 28 U.S.C. §1331, §1343 and

      supplemental jurisdiction thereto.

 4.   This action involves a Question of Federal Law.

 5.   Venue is proper in this district based upon the fact that a substantial part of the events or

      omissions giving rise to the claim occurred within the Eastern District of the State of New

      York. 28 U.S.C. §1391(b).

 6.   On or about November 15, 2022, Plaintiff filed a charge of discrimination with the Equal

      Employment Opportunity Commission (“EEOC”).

 7.   On or about April 12, 2023, Plaintiff received a Notice of Right to Sue Letter from the EEOC.

 8.   This action is brought within ninety (90) days of said Notice of Right to Sue Letter.

 9.   Plaintiff is a female resident of the State of New York, County of Nassau.

10.   At all times material, Defendant STAR NISSAN, INC. (hereinafter “STAR NISSAN”) was

      and is a domestic business corporation duly incorporated under the laws of the State of New

      York.

11.   At all times material, Defendant STAR NISSAN owned and operated a Nissan car dealership

      located at 20602 Northern Blvd, Queens, New York 11361.

12.   At all times material, Defendant JOHN KOUFAKIS JR. (hereinafter “KOUFAKIS”) was and

      is a male resident of the State of New York.

13.   At all times material, Defendant KOUFAKIS was and is a “Co-Owner” of Defendant STAR

      NISSAN.

14.   At all times material, Defendant KOUFAKIS was and is Plaintiff’s supervisor and/or had

      supervisory authority over Plaintiff.




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15.   Defendant STAR NISSAN and Defendant KOUFAKIS are hereinafter also collectively

      referred to as “Defendants.”

16.   At all times material, Plaintiff was an employee of Defendants.

                                          MATERIAL FACTS

17.   In or around 2017, Plaintiff and her husband moved into an apartment building that was owned

      by John Koufakis, Sr., who is Defendant STAR NISSAN’s founder, and Defendant

      KOUFAKIS’ father.

18.   As an ancillary matter, in or around 2020, Plaintiff and her husband lost their business due to

      the COVID-19 pandemic, and the economic downturn resulting therefrom.

19.   Nevertheless, in or around July 2021, Mr. Koufakis, Sr. passed away and Defendant

      KOUFAKIS assumed ownership of Plaintiff’s apartment building.

20.   Over the next year, Plaintiff and her husband became acquainted with Defendant KOUFAKIS

      by virtue of their landlord-tenant relationship.

21.   As such, Defendant KOUFAKIS, who is married, was aware of the fact that Plaintiff and her

      husband had recently lost their business, and that Plaintiff was unemployed.

22.   A year later, in or around February 2022, Defendant KOUFAKIS offered Plaintiff an

      opportunity to work at Defendant STAR NISSAN as a “Sales Representative,” because

      according to him, Plaintiff was “sweet and [he] want[ed] to help.”

23.   At that time, Plaintiff did not suspect Defendant KOUFAKIS’ ulterior sexual motive and she

      accepted the offer employment.

24.   Thus, on or about March 8, 2022, Plaintiff began working at Defendant STAR NISSAN as a

      Sales Representative, with an hourly pay rate of $15.00.




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25.   Plaintiff’s primary job duties included searching for potential sales leads, booking

      appointments for the showroom, and maintaining communication with clients.

26.   Initially, Plaintiff looked forward to working at Defendant STAR NISSAN and anticipated a

      long career with the company.

27.   However, it soon became clear that Defendant KOUFAKIS hired Plaintiff hoping to take

      advantage of her vulnerable financial situation, and to manipulate her into a sexual relationship.

28.   For example, during her first week at Defendant STAR NISSAN, Defendant KOUFAKIS

      insisted that Plaintiff sit in the office next to his.

29.   Plaintiff thought this was odd, especially because there were other areas/desks in the dealership

      where she could work. Nevertheless, she complied at Defendant KOUFAKIS’ insistence.

30.   As another example, throughout the workday, Defendant KOUFAKIS would constantly stare

      at Plaintiff in a flirtatious manner, and try to make eye contact with her.

31.   In fact, on one occasion, Defendant KOUFAKIS stared at Plaintiff seductively and stated, “I

      am so happy that you started working for me. You make me feel young again and I like

      to being close to you.” Plaintiff became uncomfortable and awkwardly replied, “Thanks.”

32.   In further harassment, Defendant KOUFAKIS invited Plaintiff to have lunch and dinner

      with him on a near-daily basis. Plaintiff felt pressured by Defendant KOUFAKIS, but

      declined his invitations each time. Plaintiff even started bringing her own lunch to work, just

      to give Defendant KOUFAKIS an “excuse” for why she could not go out to eat with him.

33.   Despite her repeated rejections, in or around April 2022, Defendant KOUFAKIS asked

      Plaintiff to join him for dinner again, this time at an “expensive” restaurant where “only rich

      people” eat. Plaintiff rebuffed Defendant KOUFAKIS’ advance.




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34.   Then, in another attempt to coerce Plaintiff into a romantic relationship, Defendant

      KOUFAKIS stated, “If you become my girlfriend, I will pay off all your credit card debt.”

35.   Plaintiff was disgusted, and reminded Defendant KOUFAKIS that she was married, in hopes

      that it would deter any further advances.

36.   However, later that month, Defendant KOUFAKIS offered to give Plaintiff a ride home after

      work.   Plaintiff was apprehensive about being alone with Defendant KOUFAKIS, but

      reluctantly accepted the car ride because she feared retaliation if she refused.

37.   True to form, several minutes into the drive, Defendant KOUFAKIS asked Plaintiff, “Why

      don’t you be my girlfriend? I could treat you like a princess.”

38.   In response, Plaintiff reiterated to Defendant KOUFAKIS that she was in a committed

      marriage and was not interested in a romantic relationship with him

39.   However, Defendant KOUFAKIS persisted, placed his hand on top of Plaintiff’s, and

      stated, “You’re sweet, and money is nothing to me. Just think about it.”

40.   Plaintiff did not respond, pushed Defendant KOUFAKIS’ hand away, and exited the vehicle

      as soon as Defendant KOUFAKIS pulled up to her home.

41.   Naturally, Plaintiff was disturbed by Defendant KOUFAKIS’ incessant harassment and sexual

      propositioning.

42.   However, Plaintiff did not complain because she did not want to lose her job, needed and

      income, and believed it would be futile because her harasser was the owner of the company.

43.   Consequently, the sexual harassment continued.

44.   For example, later that month, Defendant KOUFAKIS approached Plaintiff completely

      unprompted, tapped the top of her left breast with his fingers, and stated, “I really want to




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      get to your heart and discover you.” Plaintiff was distraught by this sexual assault, reminded

      Defendant KOUFAKIS that she was married, and abruptly walked away.

45.   Yet, unfortunately for Plaintiff, Defendant KOUFAKIS would go on to touch Plaintiff’s

      breast in a similar manner on two other occasions while she was worked at Defendant

      STAR NISSAN, all under the guise of conversations about “wanting to get to her heart.”

46.   Then, in or around April 2022, Defendant KOUFAKIS called Plaintiff into his office and asked

      Plaintiff if she wanted a lollipop. Plaintiff said she did not.

47.   Defendant KOUFAKIS then stated, “You are like a lollipop to me, and I am a kid who isn’t

      allowed to have a lollipop.” Plaintiff did not respond to Defendant KOUFAKIS’ sexual

      innuendo, abruptly left his office, and returned to work.

48.   Over the next month, Plaintiff tried to ignore Defendant KOUFAKIS and focus on her duties.

49.   However, Defendant KOUFAKIS continued to invite Plaintiff out for lunch on a near-

      daily basis, and repeatedly asked Plaintiff to be his girlfriend, irrespective of her refusals.

50.   Moreover, Defendant KOUFAKIS would frequently turn conversations to personal matters.

51.   For example, Defendant KOUFAKIS would frequently complain to Plaintiff about his wife,

      show Plaintiff photographs of his wife, and tell Plaintiff that she was “prettier.”

52.   To make matters worse, Defendant KOUFAKIS was almost always intoxicated when at work.

53.   This all caused Plaintiff to fear for her safety, and she eventually informed and/or complained

      to her husband about Defendant KOUFAKIS’ ongoing harassment.

54.   Nevertheless, on or about May 13, 2022, Defendant KOUFAKIS called Plaintiff after work

      and invited her out to dinner. Plaintiff replied, “You know I have a husband [Defendant

      KOUFAKIS]. That’s really not appropriate.” Defendant KOUFAKIS responded, “I can come




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      now if you want? If you listen to me and be a good girl, I can give you whatever you

      want.” Plaintiff did not respond and immediately hung up the phone.

55.   Then, the very next day, Defendant KOUFAKIS called Plaintiff and terminated her

      employment. Defendant KOUFAKIS’ stated reason for terminating Plaintiff was that she was

      not “getting along” with her female Manager, Diana Ljajcevic.

56.   However, Defendant KOUFAKIS’ stated reason for terminating Plaintiff is pretext, because

      prior to this conversation, Plaintiff had never been counseled, warned, or reprimanded for

      anything, let alone her interactions, or working relationship, with Ms. Ljajcevic.

57.   The next day, Plaintiff’ husband called Defendant KOUFAKIS to further inquire about the

      reason for Plaintiff’s termination.

58.   During the call, Plaintiff’s husband recounted all of Defendant KOUFAKIS’ harassing

      behavior, and complained that Plaintiff had been terminated for rejecting his advances.

59.   Defendant KOUFAKIS responded, “That’s a misunderstanding … Did it ever happen? Did

      I ever pursue it? No!” Plaintiff’s husband replied, “Because she didn’t want it!”

60.   Nevertheless, at the end of the call, Defendant KOUFAKIS stated:

                 “There’s a bunch a woman in the office, they all don’t get along. Your
             wife can work for me anytime she wants. I will never say another word to
             her again because this is all a misunderstanding … If you’re a little patient,
             I will find another position for her.”

61.   However, to date, Defendant KOUFAKIS has not offered Plaintiff another position and/or

      transfer at Defendant STAR NISSAN.

62.   In reality, Defendant KOUFAKIS terminated Plaintiff because she would not succumb to his

      sexual advances.

63.   The terms and conditions of Plaintiff’s employment were based on her submission to, or

      rejection of Defendant KOUFAKIS’ sexual advances.



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64.   Defendants would not have terminated Plaintiff but for her rejection of Defendant

      KOUFAKIS’ sexual advances.

65.   Defendants would not have harassed Plaintiff but for her sex/gender.

66.   Defendants would not have retaliated against Plaintiff but for her opposition to Defendant

      KOUFAKIS’ unlawful actions.

67.   As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded, victimized,

      embarrassed, and emotionally distressed.

68.   As a result of Defendants’ discriminatory and intolerable treatment of Plaintiff, she suffered and

      continues to suffer severe emotional distress and physical ailments.

69.   As a result of the acts and conduct complained of herein, Plaintiff has suffered future pecuniary

      losses, emotional pain, suffering, inconvenience, loss of enjoyment of life, and other non-

      pecuniary losses.

70.   As a result of the above, Plaintiff has been damaged in an amount which exceeds the

      jurisdictional limits of all lower courts.

71.   As Defendants’ conduct has been malicious, willful, outrageous, and conducted with full

      knowledge of the law, Plaintiff demands punitive damages as against all Defendants, jointly

      and severally.

                                   AS A FIRST CAUSE OF ACTION
                                         UNDER TITLE VII
                                         DISCRIMINATION

72.    Plaintiff repeats, reiterates, and realleges each and every allegation made in the Plaintiff

       repeats, reiterates, and realleges each and every allegation made in the above paragraphs of

       this Complaint as if more fully set forth herein at length.




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73.   This claim is authorized and instituted pursuant to the provisions of Title VII of the Civil

      Rights Act of 1964, 42 U.S.C. §2000e et seq., as amended, for relief based upon the unlawful

      employment practices of the Defendants. Plaintiff complains of the Defendants’ violation of

      Title VII’s prohibition against discrimination in employment based, in whole or in part, upon

      an employee’s sex/gender.

74.   Defendants engaged in unlawful employment practices prohibited by Title VII by

      discriminating against Plaintiff on the basis of her sex/gender, together with sexual

      harassment, quid pro quo sexual harassment, creating a hostile work environment, and

      unlawful termination.

                               AS A SECOND CAUSE OF ACTION
                                      UNDER TITLE VII
                                       RETALIATION

75.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

76.   Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-3(a) provides that it

      shall be an unlawful employment practice for an employer:

               “(1) to…discriminate against any of his employees…because [s]he has
          opposed any practice made an unlawful employment practice by this
          subchapter, or because [s]he has made a charge, testified, assisted or
          participated in any manner in an investigation, proceeding, or hearing under
          this subchapter.”

77.   Defendants engaged in an unlawful employment practice prohibited by 42 U.S.C. §2000e et

      seq. by discriminating against Plaintiff with respect to the terms, conditions or privileges of

      employment, because of her opposition to their unlawful employment practices.




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                                AS A THIRD CAUSE OF ACTION
                                     UNDER STATE LAW
                                      DISCRIMINATION

78.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

79.   Executive Law § 296 provides that “1. It shall be an unlawful discriminatory practice: “(a)

      For an employer…because of an individual’s …sex/gender… to refuse to hire or employ or

      to bar or to discharge from employment such individual or to discriminate against such

      individual in compensation or in terms, conditions or privileges of employment.”

80.   Defendants engaged in an unlawful discriminatory practice by discriminating against the

      Plaintiff because of her sex/gender, together with sexual harassment, quid pro quo sexual

      harassment, creating a hostile work environment, and unlawful termination.

81.   Plaintiff hereby makes a claim against Defendants under all of the applicable paragraphs of

      Executive Law Section 296.

                              AS A FOURTH CAUSE OF ACTION
                             UNDER THE NEW YORK STATE LAW
                                      RETALIATION

82.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

83.   New York State Executive Law §296(7) provides that it shall be an unlawful discriminatory

      practice:

                  “For any person engaged in any activity to which this section applies to
                  retaliate or discriminate against any person because he has opposed any
                  practices forbidden under this article.”




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84.   Defendants engaged in an unlawful discriminatory practice by discharging, retaliating, and

      otherwise discriminating against the Plaintiff because of Plaintiff’s opposition to her

      employer’s unlawful employment practices, and for complaining about sexual harassment.

                       AS A FIFTH CAUSE OF ACTION
              UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                             DISCRIMINATION

85.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above

      paragraphs of this Complaint as if more fully set forth herein at length.

86.   The New York City Administrative Code Title 8-107(1) provides that: “It shall be an unlawful

      discriminatory practice: (a) For an employer or an employee or agent thereof, because of the

      actual or perceived …gender…of any person, to refuse to hire or employ or to bar or to

      discharge from employment such person or to discriminate against such person in

      compensation or in terms, conditions or privileges of employment.”

87.   Defendants engaged in an unlawful discriminatory practice in violation of the New York City

      Administrative Code Title 8, §8-107 (1)(a) by creating and maintaining discriminatory

      working conditions, and otherwise discriminating against the Plaintiff because of her

      sex/gender, together with sexual harassment, quid pro quo sexual harassment, creating a

      hostile work environment, and unlawful termination.

                          AS A SIXTH CAUSE OF ACTION
                 UNDER THE NEW YORK CITY ADMINISTRATIVE CODE
                                  RETALIATION

88.   Plaintiff repeats, reiterates and realleges each and every allegation made in the above paragraphs

      of this Complaint as if more fully set forth herein at length.

89.   The New York City Administrative Code Title 8-107(7) provides that:

            “It shall be unlawful discriminatory practice for any person engaged in any
         activity to which this chapter applies to retaliate or discriminate in any manner



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           against any person because such person has (i) opposed any practice forbidden
           under this chapter, (ii) filed a complaint, testified or assisted in any proceeding
           under this chapter, (iii) commenced a civil action alleging the commission of
           an act which would be an unlawful discriminatory practice under this
           chapter…”

90.     Defendants engaged in an unlawful and retaliatory discriminatory practice by retaliating, and

        otherwise discriminating against Plaintiff, including, but not limited to wrongful termination.

      WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

      A. Declaring that Defendants engaged in an unlawful employment practice prohibited by Title

         VII, the NYSHRL, and the NYCHRL on the basis of Plaintiff’s sex/gender, together with

         sexual harassment, quid pro quo sexual harassment, creating a hostile work environment,

         retaliation, and unlawful termination.

      B. Awarding damages to the Plaintiff, for all lost wages and benefits, past and future, back pay

         and front pay and to otherwise make Plaintiff whole for any losses suffered as a result of

         such unlawful employment practices;

      C. Awarding Plaintiff compensatory damages for mental, emotional and physical injury,

         distress, pain and suffering and injury to reputation;

      D. Awarding Plaintiff punitive damages;

      E. Awarding Plaintiff attorney’s fees, costs, and expenses incurred in the prosecution of the

         action;

      F. Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

         proper to remedy the Defendants’ unlawful employment practices.




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                                           JURY DEMAND

     Plaintiff requests a jury trial on all issues to be tried.

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, in

an amount to be determined at the time of trial plus interest, punitive damages, attorneys’ fees,

costs, and disbursements of action; and for such other relief as the Court deems just and proper.

 Dated: July 5, 2023
        New York, NY
                                                         ARCÉ LAW GROUP, P.C.
                                                         Attorneys for Plaintiff

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